
Deen, Chief Judge,
dissenting.
I am constrained to dissent from the second and sixth divisions of the majority opinion. The purpose of legislation setting up juvenile courts is not primarily to *667punish for crime but to "provide a solution for the youngster and his family aimed at making the child a secure law-abiding member of society.” D.C.A. v. State of Ga., 135 Ga. App. 234, 238 (2) (217 SE2d 470) (1975). I hesitate to characterize the prior actions of the victim in this case as "temperament” rather than "character” if it results in leaving out of the evidence those facts which might explain the beginning of the difficulty that ended in this fight and the adjudication which followed. The defendant’s character is a substantive fact and may of itself be sufficient to generate a reasonable doubt of guilt and thereby authorize a judgment of acquittal. Shropshire v. State, 81 Ga. 589, 591 (8 SE 450) (1888); Life Ins. Co. v. Lawler, 211 Ga. 246, 251 (85 SE2d 1) (1954); Julian v. State, 134 Ga. App. 592, 597 (215 SE2d 496) (1977). In the present case the judge refused evidence of the defendant’s good character and peaceable disposition. He also refused testimony of the victim’s character for violence and turbulence. The facts of this case are basically uncontested (a name calling contest escalated into a fight and the defendant, a boy, hit the victim, a girl, too hard, so that she fell to the ground and broke her jaw). But eyewitnesses agreed in substance that the first obscenities were uttered by the girl, the attack was hers, the "follow-up” agressive behavior was hers, the blows were struck only after the defendant was kicked in the groin by her, and she had announced in advance that this was what she intended to do. The various rulings throughout the adjudication hearing completely abolished the defense that the defendant, although he hit too hard, did in fact hit in self-defense. Some of the testimony clearly suggests that the little girl was very "street wise” and the boy was untutored in the niceties of a gutter fight. It should be noted that the defendant, according to most witnesses, backed off more than once and was followed by his victim, who also made the first physical contact. To my mind it is a close question as to who was the true aggressor, and this seems to be a view of the case which the juvenile judge completely ignored.
In my opinion this is exactly the sort of thing that separates juvenile hearings from criminal trials, and evidence of motivation is extremely important in deciding *668the degree of culpability of such immature minds. This child may well have acted in fear rather than in anger; in fact, his first act on realizing the girl was truly hurt was to go up to her and say that he was sorry. Even in murder trials evidence of the violent and turbulent character of the victim is admissible. Henderson v. State, 234 Ga. 827, 829 (218 SE2d 612) (1975); Curtis v. State, 241 Ga. 125, 126 (243 SE2d 859) (1978). It should be allowed not only in the dispositional but in the adjudication hearing as well.
I am authorized to state that Judge Shulman joins in this dissent.
